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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT “
EXHIBIT A
NABIL GHAWI

Plaintiff CIVIL ACTION NO. 3:13 CV 115 (JBA)

LAW OFFICES HOWARD LEE SCHIFF P.C., et al
Defendants

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REQUESTS FOR ADMISSIONS, INTE GATORIES AND

REQUESTS FOR PRODUCTION

Pursuant to Fed. R. Civ. P. 33, 34 and 36, defendants, LAW OFFICES HOWARD LEE
SCHIFF P.C., JEANINE M. DUMONT, HEATH A. TIBERIO, REBECCA JADACH and QUANESHIA
DAILEY-THOMPSON, hereby requests that the plaintiff, NABIL GHAWI, answer the following
Requests for Admissions, Interrogatories and Requests for Production, within 30 days:

DEFINITIONS AND INSTRUCTIONS

A. As used herein, the term "document" includes, without limiting the generality of its
meaning, all originals or copies where originals are unavailable, and non-identical copies
(whether different from originals by reason of notation made on the copies or otherwise), of all
written, recorded or graphic matter, however produced or reproduced, of correspondence,
pleadings, emails or electronic messages, telegrams, sound or video recordings of any type of
conversation, meeting, or conference, minutes of meetings, memoranda, interoffice
communications, studies, analyses, reports, summaries and results of investigations and tests,
reviews, contracts, agreements, working papers, tax returns, statistical records, ledgers, books
of account, vouchers, bank checks, bank statements, invoices, receipts, computer data,
stenographers notebooks, manuals, directives, bulletins, desk calendars, appointment books,
diaries, maps, charts, photographs, plaques, drawings or other graphic representations, logs,
investigator's reports, or papers similar to any of the foregoing, however denominated.

B. Any person or entity referred to shall include, in addition to that person or entity, his,
her, or its officers, directors, agents, employees and representatives.

CG Unless otherwise specified, the scope of discovery is from January 1, 2011 to the present.

D. If the Interrogatory or Request for Production calls for information or documentation
which you do not have, please state that you do not have the information or
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documentation, the reason why you do not have the information or documentation, and
indicate who or what has the document or information that is requested.

E: As used herein, the term "and" as well as "or" shall be construed either disjunctively or
conjunctively as is necessary to bring within the scope of these requests any and all documents
which might otherwise be construed to be outside their scope.

F. As used herein, "Amended Complaint” shall refer to the Amended Complaint filed by
Plaintiff in this action on or about March 13, 2014.

G. As used herein, the FDCPA shall refer to the Fair Debt Collection Practices Act, 15 U.S.C.
§1692, et seq., or any part thereof.

H. As used herein, the TCPA shall refer to the Telephone Consumer Protection Act, 4/7
U.S.C. §227, et seq., or any part thereof.

E The “debt” shall refer to the balance due and owing plaintiff on his Citibank Platinum
Select MasterCard with an account ending in #1181 which was charged off by Citibank in
February 2011.

Ji “The Superior Court Action” shall refer to the suit commenced the Superior Court of the
State of Connecticut, Judicial District of Stamford, by return date of April 10, 2012, bearing civil
docket number, CV 12 60136165, and entitled, Citibank, N.A. v. Nabil R. Ghawi.

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Request for Admission 1: Do you admit that the letter dated July 9, 2011, attached hereto as
Exhibit 1, is'a true and correct copy of a letter you received from the Law Offices Howard Lee
Schiff in July 2011?

1. Request for Admission : Admutted.

Interrogatory 1: If your response to Request for Admission 1 was anything but a complete,
unqualified admission of said Request for Admission, please state when you received the letter
dated July 9, 2011.

1. Interrogatory: Not Applicable

Request for Production 1: If your response to Request for Admission 1 was anything but a
complete, unqualified admission of said Request for Admission, please produce a copy of the
July 9, 2011 which you received from the Law Offices Howard Lee Schiff.

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1. Production: Not Applicable

Request for Admission 2: Do you admit that the letter stating "Faxed on August 28, 2012"
attached hereto as Exhibit 2, is a true and correct copy of the letter which you sent to the Law
Offices Howard Lee Schiff on or about August 28, 2012?

Z. Not relevant but admitted.

Interrogatory 2: Please state when you first requested validation of the debt from the Law
Offices Howard Lee Schiff as referenced in your Amended Complaint dated March 12, 2014 at
114.

2. Interrogatory: Object as not relevant to complaint. Notwithstanding I have
requested validation from the Defendant many times.

Request for Production 2: Please produce a copy of each and every letter or other document
which you claim supports your allegations that plaintiff requested validation of the debt at any
time after July 9, 2011, including, but not limited to a copy of the letter you claim that you sent
defendants on or about July 15, 2011 and any proof that you have that any or all of these
letters were sent and/or received by defendants.

2. Production: Object as not relevant to complaint. This is not relevant, as
complaint is not predicated on validation of debt. Since two prior law firms had not
validated debt then HLS was violating federal and state laws ( Exhibit 4) when they
initiated contact with Plaintiff (Exhibit 1). Notwithstanding validation of debt was
requested from inception and from then on ( Exhibit 2 ).

Request for Admission 3: Do you admit that plaintiff never requested that defendants cease
calling him?

3. Request for Admission: Deny

Interrogatory 3: If your response to Request for Admission 3 was anything but a complete,
unqualified admission of said Request for Admission, please state the following:
(a) Each and every instance in which you requested that telephone calls stop, including the
date, time and the name of the person you spoke to at defendant's law office;

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(b) Describe what you stated to defendant(s) which was intended to convey that telephone
calls were to cease; and

(c) Please state each and every instance in which you claim that you were called at usual time
or place or a place know or which should be known to be inconvenient as alleged in the
Amended Complaint at 120.

3. Interrogatory: a) J did not take notes on every occasion I requested calls to stop
but I recall informing all parties that contacted me that my home/office landline and
cell phones rang simultaneously and b) it was inconvenient for me to be interrupted
while working (c) I have attached a record of calls received (Exhibits 3). Every call
was inconvenient as I felt pressure being applied when I did talk to a representative
and was detracted from my work when automated messages were left. All calls were
initiated by an ADS (Automatic Dialing System) and therefore by definition violated a
number of laws.

Request for Production 3: Please produce all letters or other documents which you claim
support your allegations that you were called by defendants after you requested no more
telephone calls and/or that you were called at an usual time or place or a place know or which
should be known to be inconvenient as alleged in the Amended Complaint at 120.

3 Production: Most of the requests were verbal but the July 19" letter (Exhibit
2) requesting validation of debt clearly requests that all communication be in
writing. All other written communication may not spell out that correspondence be
in writing but clearly alludes to that. Please see Attached Exhibits 3 that show some
of the incoming calls from HLS. These were automated robo calls that would leave a
“canned” message (usually cut off) if not picked up and if answered the same canned
message was relayed. ( Please see HLS own Exhibits 2 & 6 for further validation tat
Plaintiff wished to have written documentation),

 

Request for Admission 4: Do you admit that the letter stating “Faxed to 860-528-7602 on
September 3, 3012” attached hereto as Exhibit 3, is a true and correct copy of a letter you sent
to defendants on or about September 3, 2012?

4. Request for Admission: Object as not relevant to case as complaint is not
based on alleged debt but on the method of collection. Notwithstanding, letter may be a

copy:

Interrogatory 4: Please list each call which you claim was made in violation of the FDCPA, and
include in your answer: (a) the date and time of each call; (b) the telephone number to which
the call was made; (b) whether the call was made to a cell phone or a non-cell phone number;
and (c) the carrier who provided your cell phone or phone service for each such call made to

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you.

4. Interrogatory: Please refer to Exhibits 3 which is a detailed history of calls
with time and date. Although the number called may have been 203-531 5122 Tam
able to pick up the call on any one of my 2 other cell phones which ring simultaneously.
The carrier is Cablevision which provides my VOIP service which courts have ruled
falls within the definition of TCPA (FCC) as equivalent to a cell phone purposes for the
act.

Request for Production 4: Please produce copies of all cell or non-cell phone bills showing
calls which were made on the dates on which you claim calls were made to you by defendants
in violation of the FDCPA.

4 Production: Attached Exhibit 3.

Request for Admission 5: Do you admit that the letter dated September 8, 2012 attached
hereto as Exhibit 4, is a true and correct copy of a letter you sent to defendants on or about
September 8, 2012?
5. Request for Admission: Object as not relevant to suit as complaint is not based
on alleged debt but on the method of collection.

Interrogatory 5: Please list each call which you claim was made in violation of the TCPA, and
include in your answer: (a) the date and time of each call; (b) the telephone number to which
the call was made; (b) whether the call was made to a cell phone or a non-cell phone number;
and (c) the carrier who provided your cell phone or phone service for each such call made to
you.

5.  Interrogatory: Please refer to Exhibit 3.

Request for Production 5: Please produce copies of all cell or non-cell phone bills showing
calls which were made on the dates on which you claim calls were made to you by defendants
in violation of the FDCPA.

5. Production’ Refer to Exhibit 3. My provider is a VOIP (voice over
internet protocol) which the courts have ruled is equivalent to a cellular phone as far
as definition of the TCPA is concerned. Additionally I had informed you that my
cell phone is tied in with my 203-531 5122 and calling that number was equivalent
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to ringing my cell number which rings simultaneously and I can respond on either
phone. I cannot differentiate on which phone I have responded to according to the
records but the phone company keeps a record of any call received.

Request for Admission 6: Do you admit that the letter dated September 17, 2012 attached
hereto as Exhibit 5, is a true and correct copy of a letter you sent to defendants on or about
September 17, 2012?

6. Request for Admission: Object as not relevant. Notwithstanding letter
appears to be a true copy. Upon rereading the letter I reiterate my position which did
not change. I do not think there can be any doubt that I would like communications to
be in writing (Exhibit 5) (Exhibit 6).

Interrogatory No. 6: Please list each and every telephone number you have had or used from
January 1, 2011 to the present time, and for each number, indicate: (a) whether the number is
for a cell phone or a non-cell phone; (b) whether the number is for personal or business uses;
and (c) whether you have provided the number to Citibank and/or defendants for calls relating

to this debt.
6.  Interrogatory: 203-531 5122 is a Voip residential line that is used by

home/office. I have an 800-474 4294 which is only released to a few preferred
individulas as I am charged on every incoming call. This 800 number is forwarded to
my 203-531 5122 number. My other mobile numbers are 203-829 7841 and 203-718
8906 (in past I had 202-999 5432). I have had many cell phones over the years. My
business requires much travel and all phones are tied in together so that they all ring
simultaneously and not forwarded (except for 800#) so that I can pick up on any line.
Usually it is a cell line especially when away from my home/ office. Fortunately, no
matter which phone | pick up a record has been kept by my telephone provider
(Exhibit 8). None of these numbers were ever disclosed to Citibank NA or HLS.

Request for Production No. 6: Please produce all documents which support your response to
Interrogatory No. 5 and/or show that your telephone number(s) were for business or personal
use.

6. Production: My telephone is listed as a residential line. Since I am a solo
practitioner and my business is a personal one there is no way to separate the calls
individually. Suffice it to say that all incoming calls are directed to me personally
and all phones are in my personal name.

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Request for Admission 7: Do you admit that defendants do not control what appears as
caller identification on your phone(s)?

7. Request for Admission: _ | deny as I have no control over the Defendants
phone systems and policies on calling.

Interrogatory 7: If your response to Request for Admission 7 was anything but a complete,
unqualified admission of said Request for Admission, please state the following:

(a) Each and every reason for your response;

(b) Describe each and every witness with information supporting or tending to support your
response, including the name, address and telephone number of each witness; and

(c) Describe each and every document in your possession and control supporting or tending
to support your response.

7. Interrogatory: There is no way that I can keep detailed records of
Defendants outgoing calls. They would have that information. All I know is that on a
number of occasions telemarketer appeared on caller ID as well as occasionally
blocked/private number; additionally sometimes nonsensical numbers appeared on
caller ID. Even recently when Ms, Dumond called me a number of times the caller ID —
showed 4 or 5 digits and definitely not a number indicting a valid telephone number or
name of HLS

Request for Production 7: If your response to Request for Admission 7 was anything buta
complete, unqualified admission of said Request for Admission, please produce each and every
document that supports or tends to support your response thereto.

7. Production: — Defendant’s forthcoming responses to Plaintiff's requests
for admission, interrogatory and production should reveal the truth as the records are
in the possession of HLS.

Request for Admission 8: Do you admit that each time that the Law Offices Howard Lee
Schiff called you, the caller indicated his or her name and that he or she is calling from the Law
Offices Howard Lee Schiff?

8. Request for Admission: | Denied absolutely.

Interrogatory 8: If your response to Request for Admission 8 was anything but a complete,
unqualified admission of said Request for Admission, please state the following:

(a) Each and every reason for your response;

(b) Describe each and every witness with information supporting or tending to support your

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response, including the name, address and telephone number of each witness; and
(c) Describe each and every document in your possession and control supporting or tending
to support your response.
8. Interrogatory: | My discovery should reveal the facts. HLS should
have records of all the outgoing calls made to me. I retrieved records from my
phone company and it only shows the incoming calls made by HLS as disclosed in
Exhibits.

Request for Production 8: If your response to Request for Admission 8 was anything but a
complete, unqualified admission of said Request for Admission, please produce each and every
document that supports or tends to support your response thereto.

8. Production: See exhibits and above 7 response. Defendants
responses to Plaintiff's requests for admission, interrogatory and production and
are in possession of HLS should be disclosed by Defendant.

Request for Admission 9: Do you admit that the letter dated October 22, 2012 attached
hereto as Exhibit 6 is a true and correct copy of a letter you sent defendants on or about
October 22, 2012?

9. Request for Admission: Object as not relevant. Notwithstanding
letter appears to be a true copy.

Request for Admission 10: Do you admit that attached hereto-as Exhibit 7 is a true and
correct copy of the Appearance which you filed in the Superior Court action?

10. Request for Admission: Object as not relevant. Notwithstanding
Exhibit 7 appears to be a copy of my appearance.

Interrogatory No. 9: In your Amended Complaint at 1 40, you allege that "[djefendnat made
the calls to Plaintiff willfully and knowingly after the first call." Please state which defendant
you are referring to and please state each and every fact which you claim supports your
allegations that the defendant's conduct was “willful” and "knowing."
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9. Interrogatory: | Since your phone system is automated ; these are

robo calls with a machine calling and scripted automated messages left or if

one picks up then one has to wait until a human being takes over the call. All
named parties are responsible.

Request for Production No. 9: With reference to your allegation in 140 of your Amended
Complaint, please produce each and every document which you have which supports your
allegations that the defendant's conduct was either willful or knowing.

9. Production: The first call can be accidental but after that by
definition calls are made willingly and knowingly. I have no idea who is
calling since a machine leaves an automated message and if I should pick up I
never know who the party at the other might be.

Request for Admission 11: Do you admit that on June 21, 2012, you left a voice mail
message requesting that defendants continue to call you on your home phone number
because you were causing all of the calls to your home phone number to be transferred to
your cell phone because you were not at home?

11. Request for Admission: I have no idea whether I left a message on
June 21, 2012. Apparently you claim you have a copy of a recording. That
should have been produced by now. Please send me the taped message. In any
case, this will be requested during discovery if it is not sent immediately.

I know that at one point I had attempted to find an agreeable resolution and
there were several attempts to end suit but that would have been the only
reason I may have left such a message and it was only for that purpose alone
and not a carte blanche to call me ad infinitum (Exhibit 7). I need to listen to
message as it could be taken out of context. In any event calls made according
to Exhibit 3 were made prior to the date of June 12, 2012. It appears that to
avoid a time consuming legal battle I attempted a last ditch offer to end the
differences, I had informed Ms. Daily-Thomson that my time was valuable and
I did not have time to fight a law firm and an institution such as Citibank; it
would cost me much more than paying them to get them off my back as the
time and effort to come up against such forces would be most distressing. If I
recollect correctly instead of getting back to me with a counter offer or an
explanation the response was issuing a summons and the filing of a complaint.

Interrogatory No. 10: If your response to Request for Admission 11 was anything but a
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complete, unqualified admission of said Request for Admission, please describe the voice mail
message which you claim you left for defendants on June 21, 2012?

10. Interrogatory: © There is no way for me to remember every
conversation, message or communication I had several years ago. My objective
at the time was to get on with my life and spend as little time as possible on
non-productive activities. I certainly did not keep detailed notes with an
intention of a long drawn-out legal battle.

Request for Production No. 10: Except as otherwise produced herein, please produce a
copy of each and every letter which you claim you sent defendants between January 1, 2011
and the time of the commencement of this suit.

10. —- Production: Object as not relevant. Notwithstanding all relevant
correspondence and documents that have a bearing on the case will be
produced at the right time. This lawsuit is predicated on FDCPA, TCPA,
CUTPA etc. which are a consequence of the actions of HLS and Citibank NA
and not on the debt itself.

Request for Admission No. 12: Do you admit that you never indicated to any one calling
from the Law Office Howard Lee Schiff that the calls were inconvenient?

12; Request for Admission: Denied. On the contrary I recall
informing Ms. Dumont on several occasions when I was traveling on business
that is was not suitable for me to speak especially since I was on my cell phone
and I was trying to make a living.

Interrogatory No. 11: If your response to Request for Admission 12 is anything but a
complete, unqualified admission of said Request for Admission, please state the following:

(a) Each and every instance in which you stated that the calls were inconvenient, including the
date and time of each call, and the name of the person to whom you were speaking.

(b) Please state what you said to the caller; and

(c) Please state why you claimed that these calls were inconvenient.

SHOULD BE INTERRATORY 11:

10. Interrogatory: __It is impossible for me to admit truthfully as to
every instance, day and time of every call and what was said exactly. Please
refer to above response. Suffice it to say that all calls made from HLS were
inconvenient as their purpose was nothing more than to collect on an alleged
and disputed debt. ;

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Request for Admission No. 13: Do you admit that the telephone number 203 531 5122 is a
land line or a non-cell phone number?

NOT ANSWERED

Request for Admission No. 14: Do you admit that the telephone number 203 531 5122 is a
business telephone number?

14. Request for Admission: Denied with an explanation. The 203-531
5122 is a home/office line that is used by me in my private practice which
encompasses personal, business and other issues. It is listed as a VOIP

residential line (which according to TCPA is within their definition of a
regulated line) in my personal name. All my lines are attached to that number.
They are not forwarded but all phones ring simultaneously and I can pick up
any one of the phones.

Interrogatory No. 12: Please list all telephone numbers that you use or give out, and include
in your response (a) whether the telephone number is a land line or non-cell phone number, or
a cell phone; (b) whether the phone number is for personal, home, or business use; (c) whether
calls to that number are automatically sent to a cell phone number from each number; and (d)
the name of the customer, person or entity which appears on the telephone account for each

telephone number.

12. Interrogatory: Once again my 203-531 5122 is my main line which I give
out as my cell number as when it rings (calls not forwarded) so do all my mobile
phones (which have changed over the years ). This reduces the inconvenience of
friends, family, clients, and business colleagues etc, to maintain several numbers.
My personal name appears on all numbers that I have including an 800 number as
well as my present mobile numbers of 203-829-7841 and 203-718 8906 and other

numbers that have changed over the years.

Request for Production No. 12: Please produce all telephone records relating to the
telephone number 203 531 5122.

12. Production: Exhibit 3 show all the numbers that came in from HLS.
They are the numbers listed to the right and can be traced to HLS. I am in the
process of completing my investigation as to other numbers used.

Request for Production No. 13: Please produce a copy of all records of “countless calls”
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which you claim that you received from the defendants between January 1, 2011 and the
commencement of this suit which you claim were made in violation of 15 U.S.C. §1692d(5).

13. Production: Please refer to Exhibits. The TCPA is a four statute, the
FDCPA | year and CUTPA 3 years.

Interrogatory No. 13: Please describe all “actual damages" you claim that you have suffered
as a result of the alleged conduct by defendants herein, and include in your answer: (a) the
type of damage you claim; and (b) the amount of damages you are claiming.

ry Interrogatory: Defendants have a preliminary damage report. Suffice
it to say that the time for me to study and research the complicated laws have taken
away from my business caused me sleepless nights and health issues. One cannot
measure such damages purely in monetary terms. Any dollar number is not
sufficient to compensate me.

Request for Production No. 14: Please produce all documents which support your claim for
“actual damages" as described in Interrogatory No. 13 above.

14. Production: Every individual measures such actual damages in many
different ways. I leave it to the discretion of the court to come with a dollar figure as
» to me my time and health are priceless.

Interrogatory No. 14: Please describe all “statutory damages" you claim, and include in your
answer: (a) the statute you rely upon for each claim of damages; and (b) the amount of
damages you are claiming.

14. Interrogatory: They have been spelled out in the complaint and in

detail in the motion for summary judgment. A damage report has been given to Ms.
Dumont.

Request for Production No. 15: Please produce all documents which support your claim for
"statutory damages" as described in Interrogatory No. 14 above.

iS: Production: Statutory damages are in the damage report and more
specifically in the complaint and will be displayed in detail when research and
investigation is completed

Interrogatory No. 15: Please describe all “punitive damages” you claim, and include in your
answer: (a) the authority you rely upon for each claim of damages; and (b) the amount of
damages you are claiming.

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15. Interrogatory: See above response 15. Applies to punitive damages as
well,

Request for Production No. 16: Please produce all documents which support your claim for
“punitive damages” as described in Interrogatory No. 15 above.

16. Production: See above.

Interrogatory No. 16: Please state whether you have recordings of any calls which you claim
were made to you by defendants in violation of the FDCPA or TCPA, and include in your
response: (a) the manner or method of recording each call; (b) the name of the person or
entity which recorded each call; and (c) the location of each such recording at the present time.

16. Interrogatory: Included on my hard drive from messages left. I only
have the recordings, which were left, on my voice box. Unlike HLS I do not record
my conversations as words can be taken out of context. That is why I have requested
that HLS correspond with me in writing.

Request for Production No. 17: Please produce a copy of any and all recordings of
telephone calls which you currently have in your possession.
LZ. Production: In Exhibits. Please provide email so I can forward as
attachments. In previous communications I had listed each call in detail and why it
was a violation. It is with Defendant and can be found in the court pleadings.
Similarly I request that all records in your possession be delivered to me.

Interrogatory No. 17: Attached hereto as Exhibit 8 is a document which was attached to
your Amended Complaint as “Exhibit 1D." Please describe what this document is and include in
your response: (a) who provides the information on this document; (b) what "Optimum" or
“Optimum Voice” means; (c) what the listing provided shows: (d) what are the inbound and
outbound telephone numbers; and (e) whose number is 860 888 1798.

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a7. Interrogatory: Your Exhibit 8 has been selectively chosen and
accompanying paperwork was omitted. Consequently, this not an accurate picture. I
had submitted complete Exhibits of phone logs with notes. I am now sending you an
updated record. The outbound calls are of no significance to my suit. The number
displayed in defendant’s Exhibit 8 is 860 882 1798 and not 860-888 1798. That
number is or was an HLS number. I shall send more comprehensive evidence. This
would only be a partial list as going through hundreds if not thousands of documents
and telephone numbers is a painstaking process.

Interrogatory No. 18: Attached hereto as Exhibit 9 is a document which was attached to
your Amended Complaint as “Exhibit 2." Please provide the date of the statement on which
this notice appeared.

18. Interrogatory: The statement is just prior to 02/22/2010 as is shown
under account terms in the statement. You claim you have all the statements which I
do not.

Interrogatory No. 19: With reference to Exhibit 9 attached hereto, please state whether the
telephone number 203 532 9459 is or was a cell phone number; (b) who is named on the
account as to the holder of this telephone number; and (c) whether telephone calls placed to
this number were forwarded to 203 531 5122.

19. Interrogatory: Object as this is completely irrelevant. The only reason
for that Exhibit was to show that I had not released the number 203-531 5122 to
either HLS or Citibank.

Interrogatory No. 20: With reference to Exhibit 9 attached hereto, please state whether the
telephone number 203 930 6063 is or was a cell phone number; (b) who is named on the
account as to the holder of this telephone number; and (c) whether telephone calls placed to
this number were forwarded to 203 531 5122.

20. Interrogatory: Object as this is completely irrelevant. The only reason

for Defendant’s Exhibit 9 was to show that | had not released the number 203-531

5122 to either HLS or Citibank .

DEFENDANTS

/SMeanine M. Dumont
Jeanine M. Dumont, Bar No. ct 05021

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Law Offices Howard Lee Schiff PC
510 Tolland Street

East Hartford, Connecticut 06108
Telephone (860) 528 9991

Fax (860) 528 7602

CERTIFICATION OF SERVICE

I hereby certify that a copy of the foregoing and any attachments hereto were mailed on
JANUARY 19, 2015 to the following counsel of record:

DEFENDANT

NABIL GHAWI

14 HAWTHORNE ST 5S #A
GREENWICH, CT. 06831

/SHeanine M. Dumont
Jeanine M. Dumont

THIS COMMUNICATION IS FROM A DEBT COLLECTOR.

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